
IN this case the District Court of Petersburg adjourned to the general court, the following questions. “ 1st. “ Whether any judgment of any inferior court in Savour “ of the commonwealth, on a prosecution for a misde- “ mesnor, can be reviewed and reversed by a district court “ either on an appeal or by a writ of supersedeas: and “ 2dly, Whether according to the correct interpretation “ of the act of general assembly, intitled ‘ an act to re- “ duce into one the several acts concerning the establish- “ ment, jurisdiction and powers of district courts,’ the “ costs be a part of the value of a judgment so as to give “ a district court jurisdiction, and power to reverse it.”
June 25, 1810. The general court, consisting of Judges Nelson, White, Stuart and Coalter, decided, “ That no “judgment of an inferior court on a presentment for a “ misdemesnor can be reviewed and reversed by a supe- “ rior court either upon appeal, or supersedeas, the com- “ mon law writ of error being the only way in which “ such judgment can be reviewed and reversed; which “ writ of error may issue without any regard to the costs “ or value of the judgment, and without the assent of the “ attorney for the commonwealth."
